       Case 9:05-cv-01097-TJM-GJD Document 11 Filed 01/30/06 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________
KEVIN GAMBLE,
                              Plaintiff,
                                                                           NOTICE OF
                                                                           MOTION

                                                                           9:05-CV-1097
                -against-
                                                                           (TJM)(GJD)

J. ISAACS, Officer, Elmira Correctional Facility,

                              Defendant.
_____________________________________________

       PLEASE TAKE NOTICE THAT upon the accompanying memorandum of law and

affirmation, the undersigned shall move this Court for an order pursuant to Rule 12(b)(3) of the

Federal Rules of Civil Procedure dismissing the complaint on the ground of improper venue, as a

submission before the Honorable Gustave J. DiBianco, United States Magistrate Judge, United

States District Court, Northern District of New York, United States Courthouse, Syracuse, New

York, on March 30, 2006.



       PLEASE TAKE FURTHER NOTICE that pursuant to Rule 7.1 of the Local Rules of

Practice of the United States District Court for the Northern District of New York, any papers to be

submitted in opposition to this motion must be filed with the Clerk of the Court, and served upon

counsel for the defendants no later than seventeen (17) days before the return date of the motion,

exclusive of that day.
      Case 9:05-cv-01097-TJM-GJD Document 11 Filed 01/30/06 Page 2 of 2




Dated: Syracuse, New York
       January 30, 2006
                                   ELIOT SPITZER
                                   Attorney General of the State of
                                          New York
                                   Attorney for the Defendant


                             BY:   s/Maria Moran
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TO:   Kevin Gamble
      Plaintiff pro se




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